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UNITED STATES DISTRICT COURT
BKASTERN DISTRICT OF LOUISIANA

JN Ft

4]| IN RE: CHINESE-MANUFACTURED
DRYWALL PRODUCTS LIABILITY
S]f LITIGATION

6 CIVIL DOCKET NO. 09-MD-2047-EEF-JCW
NEW ORLEANS, LOUISIANA

7 THURSDAY, JANUARY 20, 2011, 10:15 A.M.
8 || THIS DOCUMENT RELATES TO
ALL CASES
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11 TRANSCRIPT OF MOTIONS PROCEEDINGS
HEARD BEFORE THE HONORABLE ELDON E. FALLON
12 UNITED STATES DISTRICT JUDGE
13

14 |] APPEARANCES:

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PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY. TRANSCRIPT
PRODUCED BY COMPUTER.

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Record Document 6634. Is that something we need to crally argue?
MR. PANAYOTOPOULOS: No, Your Honor. i'm
Nick Panayotopoulos on behalf of certain Banner entities.

As Your Honor knows, we had a hearing on our motion
to compel, and the Court issued an order. We're just dealing
with it, Your Honor. They produced a lot of documents since the
Court's order, and we don't need to take up the Court's time any
further. We'll just come back if we need to.

THE COURT: I'1il pass the motion with the understanding
that if you don't get what you need, you'll bring it back again.

Plaintiffs’ Steering Committee's motion challenging
the adequacy and completeness of discovery of the defendants
Taishan Gypsum. That's the aspect that we talked about a
little bit before, but let's focus on it now. It's the
Record Document 6964, and there is also a Record Document 6981.

MR. MONTOYA: Your Honor, Patrick Montoya on behalf of
the Plaintiffs’ Steering Committee. The two motions before
Your Honor are very similar. It's plaintiffs' motion to compel
answers and appropriate answers to the first request for
production and first set of interrogatories directed at personal
jurisdiction discovery.

Taishan has also filed a motion for protective
order relating to the 30(b) {6) depositions which cover the same
topics. So our argument will both address motion to compel and

Taishan's motion for protective order.

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The core issue is what Mr. Levin has pointed out
earlier in the motion for default objection and what Your Honor
has accurately crystallized. Taishan is making representations
on behalf of at least 20 of its affiliates that we cannot take
personal jurisdiction discovery over those entities. They do not
dispute that they are affiliated with them. They simply saying
that it's too over broad.

Now, why is it not over broad? Why is it relevant
to personal jurisdiction? It's relevant to personal jurisdiction
because on either an alter-ego theory, a veil-piercing theory, an
agency theory, or under the undertaker doctrine what those
entities that Taishan directs do as is related sales to the
United States of drywall and other products is relevant to
personal jurisdiction.

The second issue is what about the entities that
control Taishan that are above it in the chain? The same issue.
What have they done to direct Taishan's sales or manufacturing of
drywall or other products to the United States for a minimum
contacts purpose?

Yesterday evening we filed a reply to the Taishan
defendants' motion for protective order that set forth the law.
I'm not going to belabor that law with Your Honor because I know
that the Court is well aware of it, but the whole question here
is what did those other entities do, how did they direct Taishan,

or how is Taishan directed towards the manufacture and sale of

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drywall in the United States? That's the core issue in our
motion to compel. There is other subissues but for the most
part, I think those will fall like dominoes once Your Honor
decides the scope of discovery of the other entities.

As Mr. Levin stated, the idea that we have to
accept Taishan's representations -- with all respect to counsel,
they have made no appearance for those entities -- we're entitled
to that discovery. We need that discovery.

They've also complained that we haven't pled
theories adequate in order to reach those entities. We've pled
that Taishan is a multilayered, prolix entity that's ultimately
owned by the Chinese government through multiple layers of
cerporate ownership.

What those entities did in terms of how they
directed Taishan sales to the United States and what Taishan did
in response and how Taishan directed other entities’ sales to the
United States is relevant for the purposes of personal
jurisdiction on those alter-ego, veil-piercing, agency~type
theories.

THE COURT: Now, how do you deal with it just
logistically and from a practical standpoint? Who do you take
and where do you take them and what do you do with them if they
don't show up? How does the Court have jurisdiction enforcing
that argument?

MR. MONTOYA: Well, Your Honor, the whole issue here,

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basically what's happened is we've -- in our request for
production, interrogatories, and the 30(b) (6) notice, we set
certain topics defining you, saying you, Taishan, what are your
connections with X, Y, 4% entity, and we've defined what you
means —- subsidiaries, affiliates, successors.

At least 20 of those entities we've named in the
complaint. They just came up here several minutes ago and said,
well, you know, we're not making notice of appearance for them at
this point. The real question is does Taishan have those
decuments in their possession, custody, or control? That's what
the federal rules say. If they have those documents, then they
should produce them. That's not over broad. That goes to the
personal jurisdiction discovery.

Your Honor is going to set a time frame for
30(b) (6) depositions. We can ask those witnesses those
questions. What they are trying to say is you can't ask us about
those related entities that we have an ownership interest in.
That's improper. Personal jurisdiction discovery and minimum
contact analysis demands that we have that information. So from
a practical perspective, we are entitled te more documents. They
are not saying that there are no documents. They are saying
simply that it's over broad. They've already said that they are
affiliated, and they are not making an appearance. The documents
are there. They need to produce them.

The witnesses can be asked the question. If

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Your Honor would be willing to be on the phone, as you suggested
for the other Hong Kong depositions, that may also resolve some
of the issues as well.

THE COURT: Any response on the discovery?

MR. MONTOYA: Judge, if I may, one last point. We also
moved in our papers to have a deposition scheduled in the middle
of February on the 14th. The Taishan defendants. have taken the
position that early April is appropriate.

We've laid out in our papers that they have been
before this Court for several months. They've been aware of this
case for more than a year. They've had more than enough time to
prepare their clients' depositions.

THE COURT: Thank you.

MR. SPANO: Your Honor, I think we need to bear in mind
the type of discovery we are undertaking and why we are doing it.
Taishan Gypsum has moved to vacate the default in the Germano and
in the Mitchell cases, and one of the basis for vacating the
default is the absence of personal jurisdiction. We've submitted
declarations saying that based on our OEM production of drywall
and sales in China, that is not sufficient to establish our
minimum contacts for purposes of personal jurisdiction. The
discovery should be centered around those facts. What did
Taishan Gypsum do? What did TTP do vis-a-vis the U.S. and is
that sufficient for jurisdiction?

THE COURT: I agree with that, but the plaintiffs have

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taken the position that Taishan may have acted with surrogates
and that they controlled the surrogates, so the surrogates'
actions are Taishan's actions. Now you take the position that's
really not surrogates, and Taishan didn't do anything through
them, and that's the situation.

They want to test that, as I understand the
argument. They want to ask somebody from those surrogates what
did you do, why did you do it, who told you to do it, and so
forth. It goes really to the jurisdiction.

It's not a question of the other entities. If
there are other entities and they are not controlled by Taishan
and Taishan didn't have anything to do with them, that will be
revealed. Then your motions, if you enter the appearance, to
dismiss, I don't see how the plaintiffs can argue with it.

To just dismiss it on somebody saying that you were
told, and it's got to be hearsay with you, somebody in China
translated to you that they didn't have anything to do with this,
and so you tell the Court, this is what they told me, and I
believe them, but they don't want you to make an appearance
officially, and so you're now here as a friend of the Court
saying somebody in China told me to tell you this is the
situation.

MR. SPANO: That's not correct, Your Honor. We are here
on behalf of Taishan Gypsum and TTP arguing that those entities

are not subject to personal jurisdiction. Those two entities are

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taking responsibility, so to speak, for jurisdictional purposes
for all of the sales of the product that entered into the U.S.

So again, being practical, Your Honor, speculation
about whether some affiliate or some parent company or some
Surrogate, as you say, whispered in Taishan Gypsum's ear and
influenced it in having those contacts with the U.S., that
doesn't figure -- really figure into the analysis.

The analysis is whether the contacts that my client
had with the U.S. amount to targeting the U.S. market and
purposeful availment of activity of the U.S. sufficient for
purposes of jurisdiction. All of that -- and all of those
contacts are being disclosed. We will have knowledgeable
witnesses to give full testimony about that.

THE COURT: The knowledgeable witnesses will say that
they don't do any business in the United States, I assume.

MR. SPANO: Knowledgeable 30(b) (6) witnesses on behalf
of Taishan Gypsum and TTP will answer factually regarding all of
the 200 transactions that I told you about, all of the
communications and contacts, and then the parties can argue about
whether those facts are sufficient to establish jurisdiction.

Your Honor, my client has a default judgment
against it. We want to get past this jurisdictional discovery.
We want our depositions taken in April, we want the supplemental
briefing done quickly, and we want a hearing so we know where we

stand. This going off on a tangent asking for discovery

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regarding 41 other entities, they have Chinese companies
unrelated to us, they have Mexican companies listed, they have
American companies listed besides these 20 subsidiaries. No way.
If we're required to give this discovery, we will

have to go back to China and search and collect documents from
companies all over China. Mr. Montoya correctly said that we, if
this discovery is required, would be required to produce the
information and documents in our possession and custody and
control. To do my due diligence under Rule 26, I have to go and
collect documents from 20 subsidiaries. Some of them are a
thousand miles away.

THE COURT: I got it. Let's do it this way: Let's take
the depositions of the people that they say. Let's do a 30(b) (6)
of those individuals. It may not be sufficient, but let's do
that first. We need to do that quickly. You want to do it in
May. That's a little too far if we're just going to restrict it
to that. They want to do it in February. Why can't we do it in
February —--

MR. SPANO: Your Honor, we have been talking to the PSC
since November, and we told them in November that February is a
problem. The first two weeks in February are absolutely out of
bounds because of the Chinese New Year. It's impossible to
travel there. It's impossible for witnesses to travel.

This is -- and this is a big undertaking. We're

going to have about 30,000 pages of documents to prepare them on.

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February is just untenable for us. We proposed the first week in
April to give the witnesses and the attorneys and everybody a
chance to participate —-

THE COURT: Let's get together.

MR. SPANO: -- including the State plaintiffs --

THE COURT: Let's get together on a date that's
appropriate, and let's take the depositions of those individuals.
Bring it back to me after that, if it's necessary.

MR. SPANO: Thank you, Your Honor.

MR. LEVIN: Your Honor, we've heard Your Honor. The
scope. When we go to Hong Kong, are we precluded, even though we
don't have documents, from asking questions about these other
entities?

THE COURT: No. I don't feel that way. I think that
that may be a reason to support your position, or it may be a
reason to support your position. If the 30{b) (6) person knows
something about it, then that’s one thing. If he doesn't, then
that's another thing. So I think the scope ought to be broad. I
don't think it ought to be narrow.

MR. LEVIN: That's fine, sir.

THE COURT: Because if it's broad, you may win. If it's
narrow, you may lose because they won't be able to ask the
questions. They are going to have to ask the questions to
somebody, and let's start with that.

MR. LEVIN: Your Honor said that you would want to be

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1]] available by phone.
2 THE COURT: I will be.
3 MR. LEVIN: If that's the case, we'll endeavor to start
4] the deposition at midnight so that you don't have to be on the
5f} phone at midnight.
6 THE COURT: You all make that decision. Give me some
7] heads-up as to when you need me so that I can make myself
Sj] available.
9 MR. LEVIN: Thank you, Your Honor.
19 MR. SPANO: Thank you.
11 THE COURT: So I'm going to deny the motion at this time
12]] to allow you to refile it if it becomes necessary, and I would
13]] like you ail to get together within the next week and let me know
14{] the date that you all have decided.
15 Any other motions that we need to take up?
16 MR. LEVIN: That's all, Your Honor.
17 THE COURT: Is that it? Any other motions? All right,

18]) folks, thank you very much. Court will stand in recess.
19 (WHEREUPON, at 10:47 a.m., the proceedings were

20]] concluded. )

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